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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

JOHN DOE,                                       )       Civil Action
                                                )
                         Plaintiff,             )       Case No. 3:17-cv-00364-JBA
                                                )
v.                                              )
                                                )
QUINNIPIAC UNIVERSITY, TERRI                    )
JOHNSON, SEANN KALAGHER,                        )
AND VINCENT CONTRUCCI,                          )
                                                )
                         Defendants.            )       July 5, 2018


     DEFENDANTS’ REPLY TO PLAINTIFF’S RESPONSE TO MOTION TO AMEND
                          SCHEDULING ORDER

          The defendants, Quinnipiac University, Terri Johnson, Seann Kalagher, and Vincent

Contrucci, hereby file its reply to the plaintiff’s response to the defendants’ motion to amend the

Scheduling Order, dated June 29, 2018. For the foregoing reasons, the defendants’ motion should

be granted.

     I.       GOOD CAUSE EXISTS TO WARRANT MODIFICATION OF THE
              SCHEDULING ORDER

          Despite the plaintiff’s assertions to the contrary, good cause exists to warrant

modification of the scheduling order to extend the deadline by which to depose fact witnesses in

this case. Rule 16 of the Federal Rules of Civil Procedure provides that once a scheduling order

is issued, it “may be modified only for good cause and with the judge’s consent.” Fed. R. Civ. P.

16(b)(4). “[A] finding of good cause depends on the diligence of the moving party.” (Emphasis

added; internal quotation marks omitted.) Parker v. Columbia Pictures Industries, 204 F.3d 326,

340 (2d Cir. 2000). In addition, the court may also consider “other relevant factors including, in

particular, whether allowing the [extension] at this state of the litigation will prejudice [the
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plaintiff].” Kassner v. 2nd Avenue Delicatessen Inc., 496 F.3d 229 (2d Cir. 2007). “A district

court has broad discretion to direct and manage the pretrial discovery process.” (Internal

quotation marks omitted.) Wills v. Amerada Hess Corp., 379 F.3d 32, 41 (2d Cir. 2004).

                  A. DESPITE THE DEFENDANTS’ DILIGENCE, THE TIME BY WHICH TO
                     DEPOSE FACT WITNESSES COULD NOT HAVE REASONABLY BEEN
                     MET

         The plaintiff claims that good cause does not exist to warrant the granting of this motion

and, specifically, that the defendants were not diligent. This simply cannot be further from the

truth.

         As outlined in the defendants’ motion for modification of the scheduling order,

undersigned counsel has spent countless hours preparing voluminous documents for the plaintiff,

as well as attending and preparing for the 14 depositions that the plaintiff took during the

month of June. Many of these depositions were canceled and rescheduled, further disrupting the

dates available to the defendants to take its own depositions. In addition, during the depositions

taken by the plaintiff, some of which took over seven hours and/or spanned over the course of

two days, additional documents were discovered which necessitated the compiling of

supplemental document production. The last deposition the plaintiff took was on June 29, 2018.

The defendants effectively spent the entire month responding to the plaintiff’s discovery

requests.

         On June 22, 2018—within the discovery deadline—the defendants issued its deposition

notices of the plaintiff and his parents, as well as the plaintiff’s investigator. 1 These are the only

fact witness depositions that the defendants plan to take. At the time the depositions were

noticed, the plaintiff had depositions noticed and scheduled for July. and that the dates selected


1
  It is important to note that the investigator was served with a subpoena which may explain why the plaintiff has yet
to receive the notice.
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worked for the plaintiff. 2 In fact, the plaintiff did not object to the notices nor indicate that the

deponents would not be produced. Rather, the plaintiff simply lied in wait until the discovery

deadline to tell the defendants that the deponents would not be produced. This is not a case in

which the defendants noticed the depositions after the discovery deadline or waited until the last

day to schedule the depositions. Rather, the defendants were diligent and acted reasonably. Had

the defendants known that the plaintiff was going to fail to produce these witnesses, the

defendants could have technically complied with the deadline which would have required

scheduling depositions for evenings and weekends but instead noticed them for a few weeks out

and were willing to work with the other side on dates.

        Courts have not hesitated to find good cause to modify the discovery deadline in similar

circumstances. JB Aviation, LLC v. R Aviation Charter Services, LLC, No. CV-14-5175, 2016

WL 4444794 (E.D.N.Y August 23, 2016) is entirely on point. In JB Aviation, LLC, the plaintiff

requested an extension of the February 29, 2016 fact witness discovery deadline in order to

depose the defendant. The defendants objected to the requested modification claiming that “at no

point prior to February 17, 2016 did [Plaintiff’s counsel] request proposed dates for [the

defendant’s] deposition or serve a Notice for [the deposition]. . . . Further . . . the February 17,

2016 Notice set forth a date and location for the [deposition] a full month after the February 29,

2016 deadline set forth in [the Court’s] Scheduling Order.” See id.

        The court found that “[n]otwithstanding counsel’s delay in noticing [the defendant’s

deposition], [d]iscovery is not a matter of gamesmanship nor conducted like a game of chess. . . .

Rather, the over-arching purpose of the discovery rules is to encourage the disclosure of



2
 Specifically, the plaintiff noticed the depositions of two fact witnesses on Sunday, June 17th for the following
Tuesday, June 19th. Given that the deponents did not have reasonable notice and were unavailable, their depositions
were scheduled for July 2, 2018. The plaintiff decided to cancel their depositions on June 29, 2018.
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information and materials to avoid unnecessary surprise and to level the playing field for both

parties to the litigation.” (Citations omitted; internal quotation marks omitted.) Id. As such, the

court granted the requested modification given that “[the deponent was] a named Defendant and

Plaintiffs should have the opportunity to take his deposition. Moreover, the fact that [the

deponent] would likely be a primary witness for deposition by the Plaintiffs comes as no surprise

to the Defendants. Notwithstanding the misplaced reliance of Plaintiff’s counsel on some

purported misunderstanding with opposing counsel . . . the Court finds that in order to ensure a

level playing field, an extension of the fact deposition deadline should be granted here solely to

permit Plaintiffs to conduct [the defendant’s deposition].” (Internal quotation marks omitted.);

see also Garza v. Webb County, Tex., 296 F.R.D 511, 513 (S.D. Tex. 2014) (given the parties’

schedules and the limited nature of the discovery extension at issue, the court found that good

cause existed to modify the discovery deadline so that the defendants could be deposed).

        The same is true in this case. Similar to JB Aviation LLC, there was an assumed

understanding with opposing counsel regarding the depositions, which was not the case. In order

to ensure a level playing field, the defendants should have the opportunity to take the depositions

it noticed, including the deposition of the plaintiff. It is no surprise to the plaintiff that the

defendants would like to take his deposition. Not only would he likely be a primary witness at

trial—he is the primary witness at trial. “Discovery is not a matter of gamesmanship nor

conducted like a game of chess.” The defendants have been diligent throughout this process and

are only requesting an additional few weeks to have the opportunity to complete its discovery.

As such, the defendants respectfully request that the court find good cause to modify the

scheduling order.

                B. THE PLAINTIFF WILL NOT BE PREJUDICED IF HE IS DEPOSED
                   NINE MONTHS BEFORE THE TRIAL DATE

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          In the plaintiff’s objection, the plaintiff does not claim that he will be prejudiced if the

depositions are taken as scheduled. In fact, the plaintiff will not be prejudiced at all if these

depositions move forward.

          As outlined in the plaintiff’s objection, the plaintiff claims that the June 29, 2918 date

was selected “in part to provide sufficient time for the preparation of reports by Plaintiff’s expert

witnesses, which must be submitted on or before July 27, 2018 . . . In light of these deadlines,

Plaintiff noticed and completed 14 depositions of Defendants’ current and former employees

during the month of June 2018.” Nowhere does the plaintiff claim that the depositions noticed

during July would in any way affect his ability to meet the expert witness deadlines given that

the plaintiff has obtained the information he needs for his expert witnesses during the month of

June.

          In addition, Trial is not scheduled to take place for nine months. Modification of the

scheduling order would not prejudice the plaintiff but would substantially prejudice the

defendants, especially if they are unable to take the deposition of the plaintiff himself. 3 No

deadlines will be affected by the requested modification and the case will stay entirely on track.

    II.       CONCLUSION

          For the foregoing reasons, the defendants respectfully request an extension of the fact

witness deadline until August 6, 2018. To the extent that the court does not wish to extend the

deadline until August 6, 2018, the defendants are available any day during the month of July to

take the noticed depositions. In addition, to the extent that the court does not wish to extend the




3
 Although the court has not yet ruled on the plaintiff’s Motion to Amend the Complaint, the defendants will take the
deposition of the Plaintiff assuming that the Motion is granted.
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fact witness deadline generally, the defendants request that the court modify the scheduling order

for the limited purpose of taking the plaintiff’s deposition.

                                               THE DEFENDANTS,
                                               QUINNIPIAC UNIVERSITY, TERRI
                                               JOHNSON, SEANN KALAGHER and
                                               VINCENT CONTRUCCI

                                               By: /s/ Jessica L. Vizvary ct30291
                                               Jessica L. Vizvary
                                               Fed. Bar. No. ct30291
                                               Lynn McCormick
                                               Federal Bar. No.: ct28745
                                               Conway Stoughton LLC
                                               641 Farmington Avenue
                                               Hartford, CT 06105
                                               Phone: (860) 523-8000
                                               Fax: (860) 523-8002
                                               jvizvary@conwaystoughton.com


                                         CERTIFICATION

       I hereby certify that on July 5, 2018, a copy of the foregoing Motion to Amend was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the court’s CM/ECF System.



                                                       /s/ Jessica L. Vizvary
                                                       Jessica L. Vizvary, Esq.




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